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The following constitutes the ruling of the court and has the force and effect therein described.




Signed August 23, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


                                            )
     In re:                                 )                               Chapter 11
                                            )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 )

                       Debtor,              )                               Case No. 19-34054-SGJ11
                                            )
     OFFICIAL COMMITTEE OF UNSECURED        )
     CREDITORS,                             )
                       Plaintiff,           )
                                            )
           vs.                              )
                                                                            Adversary Proceeding No. 20-03195
                                            )
     CLO HOLDCO, LTD., CHARITABLE DAF       )
     HOLDCO, LTD., CHARITABLE DAF FUND, LP,
     HIGHLAND DALLAS FOUNDATION, INC., THE )
     DUGABOY INVESTMENT TRUST, GRANT        )
     JAMES SCOTT III IN HIS INDIVIDUAL      )
     CAPACITY, AS TRUSTEE OF THE DUGABOY
     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.

                                                              1
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INVESTMENT TRUST, AND AS TRUSTEE OF                              )
THE GET GOOD NONEXEMPT TRUST, AND                                )
JAMES D. DONDERO,
                                                                 )
                           Defendants.                           )
                                                                 )

     AGREED ORDER GRANTING THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS’ MOTION TO FURTHER EXTEND THE STAY OF THE ADVERSARY
                 PROCEEDING THROUGH OCTOBER 15, 2021

         Upon consideration of The Official Committee of Unsecured Creditors’ Motion to Further

Stay the Adversary Proceeding through October 15, 2021 [A.P. Docket No. 70] (the “Motion”), 2

         IT IS HEREBY ORDERED that:

         1. The Motion is GRANTED as set forth herein.

         2. The Adversary Proceeding, 3 including any current response deadlines and hearing

             dates, is further stayed through and including October 15, 2021 (the “Stay”).

         3. The Litigation Trustee (as defined in the Plan), which is substituted as plaintiff

             (“Plaintiff”), and defendant CLO HoldCo, Ltd. (“CLO HoldCo”) shall meet and confer

             in an effort to resolve any disputes concerning monies held in the Court’s registry (the

             “Registry Funds”) pursuant to the Court’s Order Denying Motion for Remittance of

             Funds Held in Registry of Court [Docket No. 825]. If Plaintiff and CLO HoldCo are

             unable to reach resolution concerning the Registry Funds, then, notwithstanding

             Paragraph 2 of this Order, the Stay shall not affect the rights of Plaintiff or CLO HoldCo




2
  On August 11, 2021, the Debtor’s Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
[Docket No. 1472] (as may be amended, supplemented, or otherwise modified from time to time, the “Plan”) went
effective (the “Effective Date”). On the Effective Date, the official committee of unsecured creditors in the above-
referenced bankruptcy case was dissolved pursuant to the terms of the Plan. (Plan at 47.) Pursuant to the terms of the
Plan, the Litigation Sub-Trust (as defined in the Plan) was formed and the Litigation Trustee is now tasked with
prosecuting this Adversary Proceeding. (See id. at 26; Debtor’s Notice of Filing of Plan Supplement to the Fifth
Amended Plan of Reorganization of Highland Capital Management, L.P. (with Technical Modifications) [Docket No.
1811], Exhibit T [Docket No. 1811-4 at Article II, Section 2.2].)
3
  Capitalized terms used but not defined herein shall have the respective meanings given to them in the Motion.

                                                          2
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        with respect to the Registry Funds, and either shall be free to seek further relief from

        this Court relating to the Registry Funds.

    4. This Court shall retain jurisdiction over all matters arising from or relating to the

        interpretation or implementation of this Order.


                                   ### End of Order ###




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AGREED AS TO FORM, ENTRY, AND SUBSTANCE:

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Counsel for Marc S. Kirschner, as Litigation        Dallas Foundation, Inc.
Trustee of the Highland Capital
Management, L.P. Litigation Sub-Trust




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